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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


   STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                          Case No. 20 Civ. 2340 (EGS)

   DONALD J. TRUMP, et al.,

                          Defendants.


                     PLAINTIFFS’ NOTICE OF INTENT TO RESPOND

       The undersigned counsel attended today’s hearing in NAACP v. U.S. Postal Service, Vote

Forward v. DeJoy, and Richardson v. Trump by telephone and noted the Court’s observation that

the New York Plaintiffs had not yet responded to Defendants’ October 23 Status Report, and have

not sought emergency relief (apart from their motion for preliminary injunction). The New York

Plaintiffs file this notice to advise the Court of their position on both of those matters.

       Just over a week ago, on October 19, the New York Plaintiffs filed a motion for summary

judgment on all of their claims for relief, as well as a motion to expedite. ECF Nos. 58, 61. The

express purpose of both motions was to secure immediate permanent relief as warranted, and

before Election Day. The Court granted the New York Plaintiffs’ motion to expedite and directed

that the cross-motions for summary judgment be fully submitted by November 2, before Election

Day. See Oct. 20, 2020 Minute Order Granting Motion to Expedite. Defendants filed a Status

Report on October 23, and Defendants filed their opposition to and cross-motion for summary

judgment on October 26. ECF Nos. 64, 66.

       In the interest of conserving judicial and party resources, and having already sought

permanent injunctive and declaratory relief through their expedited motion for summary
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judgment, the New York Plaintiffs intended to respond to the October 23 Status Report as part of

their reply in support of their motion for summary judgment (and opposition to Defendants’

motion for summary judgment) due in two days, on October 27. Similarly, having already

sought and obtained expedited consideration of their motion for summary judgment—and

because the NAACP, Vote Forward, and Richardson plaintiffs separately and very effectively

sought emergency relief on their motions to enforce—the New York Plaintiffs elected not to seek

interim emergency relief themselves during the pendency of their summary judgment briefing.

For the avoidance of any doubt, the New York Plaintiffs advise the Court that they have reviewed

and agree with the arguments presented and relief requested in the emergency motions to enforce

in the NAACP, Vote Forward, and Richardson matters.

 DATED: October 27, 2020                    Respectfully submitted,

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